  Case: 6:19-cr-00026-REW-HAI           Doc #: 71 Filed: 10/01/19          Page: 1 of 2 - Page
                                           ID#: 174



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )             No. 6:19-CR-26-REW
 v.                                               )
                                                  )
 ROBERT JEROME BEACH,                             )                     ORDER
                                                  )
        Defendant.                                )

                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 70) of United States

Magistrate Judge Edward B. Atkins, addressing Defendant Robert Jerome Beach’s guilty plea as

to Count Two of the Superseding Indictment (DE 25). DE 69 (Minutes). Defendant appeared

before Judge Atkins on September 25, 2019. Id. After consenting to plead before a United States

Magistrate Judge (DE 67) and engaging in the full colloquy required by Rule 11, he proceeded to

plead guilty. DE 70. Judge Atkins found Defendant competent to plead and that Defendant did so

in a knowing and voluntary fashion; he further found that an adequate factual basis supported the

plea as to each essential element of the charged offense. Id. Accordingly, Judge Atkins

recommended that the Court accept Defendant’s plea and adjudge him guilty of the offense

charged in Count Two of the Superseding Indictment. Id.

       Defendant had three days within which to object to Judge Atkins’s recommendation, and

he has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.

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  Case: 6:19-cr-00026-REW-HAI                 Doc #: 71 Filed: 10/01/19      Page: 2 of 2 - Page
                                                 ID#: 175



466, 472 (1985). When the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 70), accepts the plea, and

ADJUDGES Robert Jerome Beach guilty of the offense charged in Count Two of the Superseding

Indictment. An Order scheduling sentencing follows.

        This the 1st day of October, 2019.




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